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           EXHIBIT 3
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                   Attorneys for Plaintiff Apple Inc.
               7

               8

               9

           10                                     UNITED STATES DISTRICT COURT

           11                                  NORTHERN DISTRICT OF CALIFORNIA

           12                                              SAN JOSE DIVISION

           13

           14      APPLE INC., a California corporation,
           15                            Plaintiff,
           16             v.
                                                                    CASE NO. 12-cv-00630-LHK
           17      SAMSUNG ELECTRONICS CO., LTD., a
                   Korean corporation; SAMSUNG
           18      ELECTRONICS AMERICA, INC., a New                 CERTIFICATE OF SERVICE
                   York corporation; and SAMSUNG
           19      TELECOMMUNICATIONS AMERICA,
                   LLC, a Delaware limited liability company,
           20
                                         Defendants.
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                   CASE NO. 12-CV-00630-LHK
Gibson, Dunn &
                   CERTIFICATE OF SERVICE
Crutcher LLP
                       Case 5:12-cv-00630-LHK Document 135-4 Filed 04/24/12 Page 26 of 26


               1            I, Irina Zyubina, hereby certify that on this 5th day of April, 2012, I did cause the following
               2   documents to be served in the following manner:
               3
                       •    APPLE INC.’S NOTICE OF THIRD-PARTY SUBPOENAS TO GOOGLE INC.
               4

               5            On the interested parties in this action addressed as follows:
               6

               7   ATTORNEYS FOR SAMSUNG ELECTRONICS CO.,
                   LTD., SAMSUNG ELECTRONICS AMERICA, INC. and
               8   SAMSUNG TELECOMMUNICATIONS AMERICA, LLC
               9   Patrick Shields
                   Victoria F. Maroulis
           10
                   Charles K. Verhoeven
           11      Kevin A. Smith
                   Kevin P.B. Johnson
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           14
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                   patrickshields@quinnemanuel.com
           16      charlesverhoeven@quinnemanuel.com
                   kevinsmith@quinnemanuel.com
           17

           18

           19      X       BY ELECTRONIC MAIL TRANSMISSION from izyubina@gibsondunn.com, by
                           transmitting PDF copies of such documents to each such person identified above, at the e-mail
           20              address listed in their addresses. The documents were transmitted by electronic transmission
                           and such transmission was reported as complete and without error.
           21              I declare that I am employed in the office of a member of the bar of this Court at whose direction the
                           service was made.
           22
                           Executed on April 5, 2012, at Palo Alto, California.
           23

           24

           25      Dated:     April 5, 2012                                           Irina Zyubina
                                                                              Irina Zyubina
           26

           27

           28

                   CASE NO. 12-CV-00630-LHK
Gibson, Dunn &
                   CERTIFICATE OF SERVICE                                 2
Crutcher LLP
